EXHIBIT A:
FINAL JUDGMENTS

(Ordered by Year Judgment Entered)

Case 2:06-cv-01449-HRH Document‘1-1 Filed 02/07/19 Page 1 of 12
UNITED STATES v. THE NOME RETAIL GROCERYMEN’S ASSOCIATION, ETAL.
Civil No. 1449

Year Judgment Entered: 1906

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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF ALASKA, SECOND DIVISION.

Civil No. 1449.
Unrrep STATES OF AMERICA
vs.

Tau Noms RETAIL, GROCERYMEN'S ASSOCIATION, THE
NoRTHWESTERN COMMERCIAL COMPANY, A CORPORA-
TION, THE BEAU MERCANTILE CONPANY, A CORPORATION,
ARCHER Ewina & COMPANY, A CORPORATION, THE
ALASKA MERCANTILE COMPANY, A. CARLIS AND §.
CARLIS, COPARTNERS AS CARLIS Bros., H. P. KING AND
H. P. Kine, JR. COPARTNERS AS KING & Kine, Ira M.

. RANK, M. BE. ATKINSON, W. W. Ewine, J. P. PARKER,
A. Poter, C. Lucct, FRED BROOMER, THORULF LEEMAN,
BIANCHI, EUGENE ANDRUCETTE, ISAIAH NEwENs AND
H. J. GLANDEN, COPARTNERS A NSWENS & GLANDEN.

DECREE.

- hig cause coming on regularly to be heard, on the

motion of plaintiff, the United States of America, by

Henry M. Hoyt, Esq., its attorney, for judgment, and it
appearing to the Court from the records and files herein,
including the marshal’s return on the summons -hereto-

fore issued herein, that each of the above named defen-

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84 DECREES AND JUDGMENTS

dants has been duly and regularly served with the process
of this court together with certified copy of the complaint,
as required by law, and that more than thirty days has
elapsed since such service upon each of the said defen-
dants, and that this action has been duly and regularly
dismissed by the order of this court as to the defendants
the Alaska Mercantile Company, a corporation, and The
Beau Mercantile Company, a corporation, the said Beau
Mercantile Company, having filed an answer herein, and
that none of the other defendants have appeared or an-
swered herein and that the default of each of them has
been duly and regularly entered herein, and the Court
having considered the complaint and the evidence filed in
support thereof,’ and being sufficiently advised in the
premises does now

ORDER, ADJUDGE AND DECREE that the injunction here-
tofore issued out of this court in this action, commanding

the said defendants and each of them to absolutely desist —

and refrain from in any way interfering with, impeding
or preventing free, open and unrestrained competition
between themselves or any of them in the conduct of the
retail grocery business of each of said defendants, or be-
tween said defendants and others engaged in the retail
grocery business in Nome, Alaska, and from continuing in
force, effect and operation any combination, conspiracy,
agreement or understanding heretofore entered into be-
tween themselves or any of them relating to the retail
selling price of groceries, etc., in Nome, Alaska, and from
continuing in force, effect and operation, purauant to such
combination, conspiracy, agreement or understanding,
-any schedule of prices for groceries, etc. heretofore
adopted, fixed, agreed upon, or put in operation by virtue
of any combination, conspiracy, agreement or understand-
ing between themselves or any of them; and from here-
after combining, conspiring or agreeing between them-
selves, or any of them, either as individuals or as an
association, directly or indirectly to fix, adopt, abide by
or maintain any schedule of retail selling prices of any
articles, in the line of groceries etc. in Nome, Alaska or

U. S. v. NOME RETAIL GROCERYMEN'S ASS'N. 85

any schedule fixing any minimum price on any such
articles; and from entering into any combination, con-
spiracy or agreement, as an association or as individuals,
either expressly or impliedly, or in any manner whatever,
or by any means arriving at any understanding between
themselves or any of them, relating to or affecting in any

way whatever the price of any article for sale at their -

respective places of business; and from combining, con-
aspiring or agreeing to do any act or thing whatever, in-
tended or calculated to prevent any person or persons
whomsoever from engaging in or continuing to engage in
the retail grocery business at Nome, Alaske, or intended
or calculated to hinder or embarrass said person or per-

- gong in the prosecution of his or their said business, either

by inducing or attempting to induce wholesale grocery
deaiers at Nome, Alaska, or.elsewhere, to refrain from
selling goods to said person or persons or by any other
means, except by legitimate competition, injuring or at-
tempting to injure the business of said person or persons;
be and the same hereby is made permanent and perpetual ;
it is further : .

ORDERED, ADJUDGED AND DECREED that any and all
agreements, contracts and obligations, express or implied,
in whatever manner made, heretofore entered into by and
between the said defendants herein or any of them with
reference to the regulation, control, maintenance or fixing
of prices of groceries in Nome, Alaska, be and the same
hereby are declared and decreed: to be unlawful and void
and the same are hereby set aside; and it is further

ORDERED, ADJUDGED AND DECREED that the said defend-
ants and each of them be and they are hereby prohibited
and enjoined from hereafter enforcing, causing to be en-
forced or carrying out said agreements contracts and
obligations; and it ia further o

ORDERED, ADJUDGED AND DECREED that the said defend-
ant the Nome Retail Grocerymen’s Association be and
the same is hereby declared and decreed to be an unlawful
association, and the same is hereby dissolved and abol-
ished; and it is further .

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ORDERED, ADJUDGED AND DECREED that the said defend-
ants and each of them be and they and each of them is
hereby enjoined and restrained from giving any orders
_or directions to committees, associations or others for the
performance of any of the acts herein sought to be en-
joined and it is further

ORDERED AND DECREED that the defendants, against
whom this action has not been dismissed, pay the cost
and disbursements of this action, taxed at $220.75.

ALFRED S. MOORE,
District Judge.
[February 8, 1906.]

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UNITED STATES v. ODOM COMPANY, ET AL.
Civil Action No. A-13 72

Year Judgment Entered: 1973

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
AT ANCHORAGE ‘

UNITED STATES OF AMERICA,
Plaintife£,

Civil Action
No, A-13 72.

. Filed: Aug. 30, 1973

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ODOM COMPANY;
ANCHORAGE COLD STORAGE CO., INC,;

and ALASKA DISTRIBUTORS COMPANY, . . :
. Entered: November 5, 1973

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Defendants.

 

Plaintiff, United States of America, having filed its
complaint herein on January 28, 1972, and the defendants,
by their respective attorneys, having severally appeared and
having filed their answers to such complaint denying the
substantive allegations thereof; and the plaintiff and the
defendants, by their respective attorneys, having consented
to the entry of this Final Judgment without trial ox
adjudication of or finding on any issue of fact or law .
herein arid without ‘this Final Judgment constituting evidence
or an admission by any of them in respect to any such issue;

Now, THEREFORE, before any testimony has been taken

“and without trial ox adjudication .of or finding on any issue

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of fact or law herein, and upon consent of the parties
hereto, it is hereby
ORDERED, ADJUDGED AND DECREED as follows:
. I

This Court has jurisdiction of the subject matter hereof

_and the parties hereto. The complaint states a claim against

the defendants upon which relief may be granted under Section
1 of the Act of Congress of July 2, 1890 (15 U.S.C. Sec. 1),
entitled "An Act to protect trade and commerce against
wmlawful restraints and monopolies," as amended, commonly
known as the Sherman Act,

As used in this Final Judgment:

(a) "Defendants" means Odom Company, Anchorage Cold
Storage Co., Inc., and Alaska Distributors Company ;

(b) "Free goods" means that quantity of alcoholic
beverages received without charge by a retailer in excess of
the quantity actually purchased by such retailer;

(c) "Liquor products" means all alcoholic beverages
sold and distributed by defendants;

(ad) “Wholesaler" means any person who distributes
and sells liquor products at wholesale to retailers; and

(e) "Person" means any individual,. partnership,
firm, association, corporation or other business or legal

entity.

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The provisions of this Final. Judgment applicable to
any of the defendants shall also apply to its officers,
directors, agents, employees, subsidiaries, successors
and assigns, and to all other persons in active concert or

participation with any of them who receive notice of this

‘Final Judgment by personal service or otherwise; provided,

owever, that the provisions of this Final Judgment shall
ot apply to transactions between any defendant and any person
ho is controlled by such defendant and provided further,
that for purposes of this Final Judgment, "control" shall
be defined as ownership of more than 50% of the outstanding
kommon stock of such person.
. Iv
Each defendant is enjoined and restrained from, directly
pr indirectly, entering into, adhering to, maintaining or
furthering any contract, agreement, understanding, plan or
program with any other persons
‘(a) To fix, maintain, adhere to or stabilize
prices, markups, or other terms and
conditions of sale at which liquor
preducts are sold to any third person; and
(b) To fix, establish, maintain or eliminate
the giving of discounts in connection
with the sale of liquor products, either
in the form of free goods or otherwise.
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Each defendant is enjoined and restrained from

rommunicating to or exchanging with any other wholesaler any

 

actual or proposed prices, price changes, discounts. either

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in the form of free goods or otherwise, or other.terms or
conditions of sale at or upon which any liquor product is
to be or has been sold to’ any third person prior to any
communication of such information to the public or customers
generally.

VI

Each defendant is ordered and directed:

(A) Within ninety (90) days after the entry of this
Final Judgment, to serve a conformed copy of this Final
Judgment upon each of its respective officers, directors,
and managing agents and upon each of its employees who have
any responsibility for the establishment of wholesale prices
of liquor products; .

(B) Within ninety (90) days after entry of this Final
Judgment, advise and inform each such officer, director,
managing agent and employee upon whom this Final Judgment
is served as described in Subsection {A) above, that
violations by him of the terms of this Final Judgment could

result in conviction of contempt of court and could subject

him to a fine or imprisonment or to both fine and

imprisonment;
(C) Within one hundred and twenty (120) days after
the entry of this Final Judgment to serve upon plaintiff

affidavits concerning the fact and manner of compliance

with Subsections (A) and (B) of this Section VI.

VII
Each defendant is ordered and directed for a period of
ten (10) years after the entry of this Final Judgment to .
serve a copy of this Final Judgment upon each successor to
each of those officers, directors, agents and empldyees of

defendant described in Subsection (A) of Section VI above,

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within thirty (30) days after each such successor is
employed by or becomes associated with such defendant, and
‘to advise him at the time of such service upon him’ that
violation by him of the tezms of this Final Judgment could
result in conviction of contempt of court and could subject
him to a°fine or imprisonment or te both fine and .
imprisonment.
VIII.

Each defendant is ordered and directed for a period of

ten (10) years from the date of the entry of this Final

Judgment .to file with the plaintiff, on each anniversary

date of such entry, a report setting forth the steps which

it has taken during the prior year to advise its appropriate
officers, directors, managing agents and employees of its

and their obligations under this Final Judgment. | Said report
shall also include a list showing the name, title and address

of each such officer, director, managing agent and employeer

upon whom the Final Judgment has been served, as described

in Section VIT above...
TX.

For the purpose of determining or securing compliance

with this Final Judgment, and for no other purpose, duly

authorized representatives of the Department of Justice
shall upon written request of the Attorney General or the
Assistant Attorney General in charge of the Antitrust
Division upon reasonable notice to each defendant made to

each defendant's principal office be permitted, subject to

.any legally recognized privilege:

(A) Access during the office hours of said

defendant to all books, ledgers, accounts,

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correspondence, memoranda, and other
records and documents in the possession
or control of defendant relating to any
o£ the matters contained in this Final
Judgment ;. and

(B) Subject to the reasonable convenience of

defendant and without restraint or
interference from it, to interview the
officers, agents and employees of
defendant who may have counsel present,
regarding any such matters. .

Upon written request of the Attorney General, or the
Assistant Attorney General in charge of the Antitrust Division,
each defendant shall submit such reports in writing with
respect to the matters contained in this Final Judgment as.
may from time to time be requested. .

No information obtained by the means permitted in this
Section IX shail be divulged by any representatives of the
Department of Justice to any person other than a duly author-
ized representative of the Executive Branch of the plaintiff,
except in the course of legal proceedings to which the United
States is a party for the purpose of securing compliance with
this Final Judgment, or as otherwise required by Law. -

x | .

Jurisdiction is retained by this Court for the purpose of
enabling any party to this Final Judgment to apply to this
Court at any time for such further orders and directions as
may be necessary or appropriate for the construction or carry-
ing out of this Final Judgment, for. the modification of any of
the provisions contained therein, for the enforcement of com-
pliance therewith and for the punishment of violations thereof.

Dated: November 5, 1973

s/ RAYMOND E. PLUMMER
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